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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

Robenson Jean-Pierre and Jean Metelus, on             Civil Action No. 1:18-cv-11499-MLW
behalf of themselves and all others similarly
situated,                                             COLLECTIVE AND CLASS ACTION

               Plaintiffs,                            NOTICE OF FILING OF CONSENTS TO
                                                      JOIN COLLECTIVE ACTION
       vs.

J&L Cable TV Services, Inc,

               Defendant.



             NOTICE OF FILING CONSENTS TO JOIN COLLECTIVE ACTION
       Plaintiffs Robenson Jean-Pierre and Jean Metelus, individually and on behalf of all

persons similarly situated, hereby files the following Opt-In Consent Form, submitted herewith

as Exhibits 1 and 2, pursuant to the Fair Labor Standards, Act, 29 U.S.C. §§ 201, et seq.

CONSENTS TO JOIN COLLECTIVE ACTION



     EXHIBIT NUMBER                              NAME                       OPT-IN NUMBER

                1                               Jimy Pierre                        22

                2                          Maxen Marcelin                          23




 Date: October 4, 2018                     Respectfully submitted,


                                           /s/ Michelle S. Lim_______________ _
                                           Carolyn Hunt Cottrell (admitted pro hac vice)
                                           Ori Edelstein (admitted pro hac vice)
                                           Michelle S. Lim (admitted pro hac vice)

                                           SCHNEIDER WALLACE
                                           COTTRELL KONECKY
                                           WOTKYNS LLP
                                           2000 Powell Street, Suite 1400


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                                          Sarah R. Schalman-Bergen (admitted pro hac vice)
                                          Stacy Savett (pro hac vice to be submitted)
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                                          sschalman-bergen@bm.net
                                          stasavett@bm.net
                                          stsavett@bm.net

                                          Attorneys for Plaintiffs, the Collective and Putative
                                          Class



                               CERTIFICATE OF SERVICE

       I hereby certify that a true copy of the above document was served upon the attorney of

record for all parties through the Court’s ECF system on October 4, 2018.


/s/ Michelle S. Lim________________
Michelle S. Lim




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            EXHIBIT 1
DocuSign Envelope ID: 45A36087-4EC8-4CC7-B5CE-E5B3700807E7
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                                                     OPT-IN CONSENT FORM
                                    Robenson Jean-Pierre v. J&L Cable TV Services, Inc.
                                     United States District Court, District of Massachusetts

                                                      Complete And Submit To:

                                                      Carolyn Hunt Cottrell, Esq.
                                                     SCHNEIDER WALLACE
                                                     COTTRELL KONECKY
                                                         WOTKYNS LLP
                                                   2000 Powell Street, Suite 1400
                                                    Emeryville, California 94608

                                                                      OR

                                                   Sarah R. Schalman-Bergen
                                                BERGER & MONTAGUE, P.C.
                                                       1622 Locust Street
                                                Philadelphia, Pennsylvania 19103

              Name:                                                    Date of Birth:
             ")&&
                                                     (Please Print)

              Address:                                                 Phone No. 1:
                                                                       Phone No. 2:
                                                                       E-mail Address


                                       CONSENT TO JOIN COLLECTIVE ACTION
                              Pursuant to the Fair Labor Standards Act, 29 U.S.C. §§ 201, et seq.

      1.    I consent and agree to pursue my claims relating to and arising from Defendant (J&L Cable TV Services, Inc.)
            alleged violations of the Fair Labor Standards Act, 29 U.S.C. §§ 201, et seq. in connection with the above-
            referenced litigation.

      2.    I have worked as a/an (title) !'                   for Defendant in (city, state) $'$#
                                                                                                      
                                                    from approximately on or about (date) _____________                      to
                                              
            approximately on or about (date) ______________.

      3.    I understand that this litigation has been filed as a proposed collective action under the Fair Labor Standards Act
            of 1938, as amended, 29 U.S.C. §§ 201, et seq. I hereby consent, agree, and opt-in to become a Plaintiff herein
            and be bound by any judgment of the Court or any settlement of this action.

      4.    I specifically authorize my attorneys, Schneider Wallace Cottrell Konecky Wotkyns and Berger & Montague to
            prosecute this lawsuit on my behalf and to negotiate a settlement of any and all claims I have against the
            Defendant in this litigation.



                
                                               (Date Signed)                                             (Signature)

                                                           **IMPORTANT NOTE**
            Statute of Limitations concerns mandate that you return this form as soon as possible to preserve your rights.
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            EXHIBIT 2
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